
969 N.E.2d 591 (2012)
In the Matter of Charles R. HYDE, Jr., Respondent.
No. 89S00-1205-DI-295.
Supreme Court of Indiana.
May 25, 2012.

PUBLISHED ORDER ACCEPTING RESIGNATION AND CONCLUDING PROCEEDING
Respondent has tendered to this Court a resignation from the bar of this State, *592 pursuant to Indiana Admission and Discipline Rule 23(17).
IT IS THEREFORE ORDERED that the resignation from the bar of this State tendered by Respondent is accepted effective immediately. The Clerk of this Court is directed to record Respondent's resignation on the Roll of Attorneys. Respondent shall fulfill all the applicable duties under Admission and Discipline Rule 23(26).
IT IS FURTHER ORDERED that any attorney disciplinary proceedings pending against Respondent are hereby dismissed as moot because of Respondent's resignation from the bar of this State, subject to consideration of pending offenses in the event there is a petition for reinstatement.
Respondent shall be ineligible to petition for reinstatement to the practice of law for five years from the date of this order. See Admis. Disc. R. 23(4)(a). Approval of a petition for reinstatement is discretionary and requires clear and convincing evidence of the petitioner's remorse, rehabilitation, and fitness to practice law. See Admis. Disc. R. 23(4)(b).
The Clerk is directed to forward a copy of this Order to the parties or their respective attorneys and to all other entities entitled to notice under Admission and Discipline Rule 23(3)(d). The Clerk is further directed to post this order to the Court's website, and Thomson Reuters is directed to publish a copy of this order in the bound volumes of this Court's decisions.
All Justices concur.
